     Case 2:17-cv-08220-DMG-SK Document 76 Filed 11/15/19 Page 1 of 5 Page ID #:1272



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6     Attorneys for Defendant Corona Seeds, Inc.
7

8                              UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10

11      Agricola Cuyuma SA;                        CASE NO. 2:17-cv-8220 DMG (SKx)
        Corporacion Agricola Vinasol SAC;
12                                                 CORONA SEEDS, INC.’S NOTICE
                          Plaintiffs,              OF MOTION FOR SUMMARY
13      v.                                         ADJUDGMENT, OR
                                                   ALTERNATIVELY, PARTIAL
14      Corona Seeds, Inc.;                        SUMMARY JUDGMENT OF ISSUES
15                        Defendant.               [Filed Concurrently with Motion for
                                                   Summary Judgment / Summary
16                                                 Adjudication; Statement of
                                                   Uncontroverted Facts; Declaration of
17                                                 Peter C.L. Chen; [Proposed] Order]
18                                                 District Judge: Hon. Dolly M. Gee
19                                                 Date: December 20, 2019
                                                   Time: 3:00 p.m. th
20                                                 Courtroom: 8C, 8 Floor
21
                                                   Complaint Served: December 21, 2017
22                                                 Current Trial Date: February 11, 2020
23                                                 Judge: Hon. Dolly M. Gee
                                                   Magistrate: Hon. Steve Kim
24

25

26
             TO THE HONORABLE DOLLY M. GEE, ALL PARTIES AND THEIR

27
      ATTORNEYS OF RECORD:

28
             PLEASE TAKE NOTICE THAT pursuant to Federal Rules of Civil Procedure 56

                                                1
        CORONA SEEDS, INC.’S NOTICE OF MOTION FOR SUMMARY JUDGMENT, OR ALTERNATIVELY,
                                   PARTIAL SUMMARY JUDGMENT
     Case 2:17-cv-08220-DMG-SK Document 76 Filed 11/15/19 Page 2 of 5 Page ID #:1273



1
      et seq. and Local Rule 56, Corona Seeds, Inc. (hereinafter referred to as “CORONA”)
2
      hereby moves this Court for summary judgment, or alternatively, partial summary
3
      judgment in its favor as to the claims in plaintiffs Agricola Cuyuma SA (“CUYUMA”)
4
      and Corporacion Agricola Vinasol SAC (“AVSA”) (collectively “PLAINTIFFS”) third
5
      amended complaint (“TAC”). There are no genuine issues of fact, and CORONA is
6
      entitled to judgment as a matter of law.
7
            In support of the motion for summary judgment, or alternatively, partial summary
8
      judgment, CORONA relies on the following, all of which are being simultaneously filed
9
      herewith:
10
            1. Memorandum of Points & Authorities;
11
            2. CORONA’s Statement of Unconverted Facts, including
12
                   a. PLAINTIFFS’ third amended complaint;
13
                   b. Invoice entered into between CORONA and AVSA for the subject seeds
14
                      at issue;
15
                   c. Invoice entered into between CORONA and CUYUMA for the subject
16
                      seeds at issue;
17
                   d. Photograph of bags and label of seeds purchased by AVSA and
18
                      CUYUMA
19
                   e. Invoice for replacement seeds sent by CORONA to AVSA;
20
                   f. Invoice for replacement seeds sent by CORONA to CUYUMA;
21
                   g. Relevant pages of deposition transcript of Michael Newman;
22
                   h. Relevant pages of deposition transcript of Andrew Johnson;
23
                   i. Relevant pages of deposition transcript Oscar Alban;
24
                   j. Relevant pages of deposition transcript of Guillermo De Los Rios;
25
                   k. Relevant pages of deposition transcript of Angello Flores;
26
                   l. Testing documents on the pea seeds at issue;
27
            3. Declaration of Peter C.L. Chen;
28

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        CORONA SEEDS, INC.’S NOTICE OF MOTION FOR SUMMARY JUDGMENT, OR ALTERNATIVELY,
                                   PARTIAL SUMMARY JUDGMENT
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1
                  a. Exhibits described in 1(a)-(l) are attached to this declaration.
2
            4. Declaration of Steve Koike;
3
                  a. Documents reviewed by Mr. Koike
4
            5. Request for Judicial Notice;
5
                  a. Pamphlets issued by Peru’s Ministry of Agriculture
6
                  b. International Certified Crop Adviser Exam
7
            6. All pleadings and evidence of record in this case.
8
            Wherefore, CORONA prays that the Court grant its motion for summary judgment,
9
      or alternatively, partial summary judgment. CORONA complied with the Initial
10
      Standing Order and Local Rule 7-3 before filing the instant motion. See Declaration of
11
      Peter C.L. Chen ¶ 2.
12

13
      DATED: November 12, 2019                HORTON, OBERRECHT, KIRKPATRICK &
14                                            MARTHA
15

16
                                              By: _________________________________
17
                                                   Cheryl A. Kirkpatrick
18                                                 Peter C.L. Chen
                                                   Attorneys for Corona Seeds, Inc.
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        CORONA SEEDS, INC.’S NOTICE OF MOTION FOR SUMMARY JUDGMENT, OR ALTERNATIVELY,
                                   PARTIAL SUMMARY JUDGMENT
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1
                                       PROOF OF SERVICE
2     STATE OF CALIFORNIA, COUNTY OF ORANGE
3           I am employed in the County of Orange, State of California. I am over the age of
4
      18 and not a party to the within action. My business address is: HORTON,
      OBERRECHT, KIRKPATRICK & MARTHA, 3 Park Plaza, Suite 350, Irvine,
5     California 92614.
6
            On November 15, 2019, I served the foregoing document described as: Corona
7     Seeds, Inc.’s Notice of Motion for Summary Judgment, or Alternatively, Partial
      Summary Judgment of Issues, on all interested parties in this action by placing a true
8     copy thereof enclosed in sealed envelopes addressed as stated on the attached service list:
9     [ ] BY MAIL – I deposited such envelope in the mail at Irvine, California. The
10
      envelope was mailed with postage thereon fully prepaid. I am “readily familiar” with the
      firm’s practice of collection and processing correspondence for mailing. Under that
11    practice it would be deposited with the U.S. Postal Service on that same day with
12
      postage thereon fully prepaid at Irvine, California in the ordinary course of business. I
      am aware that on motion of the party served, service is presumed invalid if postal
13    cancellation date or postage meter date is more than (1) day after the date of deposit for
14
      mailing in affidavit.

15    [ X ] BY ELECTRONIC TRANSMISSION – I transmitted a PDF version of this
16
      document by electronic mail to the party(s) identified on the attached service list using
      the e-mail address(es) indicated.
17

18    [ ] BY OVERNIGHT DELIVERY – I deposited such envelope for collection and
      delivery by Federal Express with delivery fees paid or provided for in accordance with
19    ordinary business practices. I am “readily familiar” with the firm’s practice of collection
20    and processing packages for overnight delivery by Federal Express. They are deposited
      with a facility regularly maintained by Federal Express for receipt on the same day in the
21    ordinary course of business.
22
      [ X ] (Federal) I declare that I am employed in the office of a member of the bar of
23    this Court at whose direction the service was made.
24
            Executed on November 15, 2019, at Irvine, California.
25

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28
                                                        Crystal Thompson

                                                4
        CORONA SEEDS, INC.’S NOTICE OF MOTION FOR SUMMARY JUDGMENT, OR ALTERNATIVELY,
                                   PARTIAL SUMMARY JUDGMENT
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1
                                         SERVICE LIST
2
      Agricola Cuyuma SA v. Corona Seeds, Inc., et al.
3
      United States District Court Central District of California: 2:17-cv-8220 DMG (SKx)
4
       Panda Kroll, Esq.                            Co-Counsel for Defendant Corona
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       Law Offices of Panda Kroll                   Seeds, Inc.
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       Camarillo, CA 93012
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       Phone: (805) 764-0315; Fax: (805) 764-0339
8      Email: pkroll@pandakrollesq.com
       Bruce Alan Finck, Esq.                       Counsel for Defendant Corona Seeds,
9
       BENTON, ORR, DUVAL &                         Inc.
10     BUCKINGHAM
       39 N. California Street
11
       Ventura, CA 93001
12     Phone: (805) 648-5111; Fax: (805) 648-7218
       Email: bfinck@bentonorr.com
13
       Brian Nomi, Esq.                             Co-Counsel for Plaintiffs Agricola
14     Law Office of Brian Nomi                     Cuyuma SA and Corporacion Agricola
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16     Phone: (805) 444-5960
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18     Eduardo Ayala Maura, Esq.                    Co-Counsel for Plaintiffs Agricola
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       1390 Brickell Avenue, Suite 335              Vinasol S.A.C.
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       Phone: (305) 570-2208
       Fax: (305) 305-7206
22     Email: eayala@ayalalawpa.com
23
       Dale Dorfmeier, Esq.                         Counsel for Crites Seed, Inc.
       PETRIE, LEATH, LARRIVEE &
24     O’ROURKE, LLP
25
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       Fresno, CA 93710
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       Email: ddorfmeier@pllolegal.com

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                                                5
        CORONA SEEDS, INC.’S NOTICE OF MOTION FOR SUMMARY JUDGMENT, OR ALTERNATIVELY,
                                   PARTIAL SUMMARY JUDGMENT
